            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:13 CR 077-4


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
DEBBIE OLLIS WEBB.                     )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the

undersigned at the close of a Rule 11 proceeding that was held before this Court on

May 2, 2014. It appearing to the Court at the call of this matter on for hearing the

Defendant was present with her attorney, Jason Hayes and the Government was

present and represented through Assistant United States Attorney Richard

Edwards. From the arguments of counsel for Defendant and the arguments of the

Assistant United States Attorney and the records in this cause, the Court makes the

following findings:

      Findings.       On December 3, 2013 a bill of indictment was issued charging

the Defendant with conspiracy to traffic in methamphetamine, in violation of 21

U.S.C. § 841(a)(1) and 846. On May 2, 2014, the undersigned held and inquiry,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure and accepted a

plea of guilty of the Defendant to that charge.       At the end of the Rule 11

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proceeding, this Court presented the issue of whether or not Defendant should now

be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or
      (C) of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

now entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(a)(1). That

crime is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C). The

undersigned made an inquiry of Assistant United States Attorney Richard Edwards

as to whether or not there will be a recommendation that no sentence of

imprisonment be imposed upon Defendant. Mr. Edwards advised the Court that

such a recommendation could not be made in this matter. As a result of the plea of

guilty, the undersigned cannot find there is a likelihood that a motion for acquittal

or new trial will be granted. From the statements of Mr. Edwards, it does not

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appear the Court can find that an attorney for the Government will recommend that

no sentence of imprisonment be imposed upon the Defendant. It would thus

appear, and the Court is of the opinion that the Court is required by law to apply

the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate the detention

of Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release are hereby REVOKED and it is ORDERED that Defendant be detained

pending further proceedings in this matter.

                                                   Signed: May 5, 2014




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